                     Case 1:09-cr-02964-JB               Document 147            Filed 12/19/11             Page 1 of 6
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Amended Judgment in a Criminal Case - Reason:
                             V.                                       Correction of Sentence for Clerical Mistake (fed. R. Crim. P. 36)

                            June L Ortiz                              (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:09CR02964-002JB
                                                                      USM Number: 48801-051
                                                                      Defense Attorney: Sara Sanchez, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) S54 through S58 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                         Offense Ended               Count
                                                                                                                        Number(s)
15 U.S.C. Sec.      Reports to State Tobacco Tax Administrator                              07/20/2005                  S54
376

15 U.S.C. Sec.      Reports to State Tobacco Tax Administrator                              01/25/2007                  S55
376

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
c    Count s S1 through S53 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      August 12, 2011
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      December 19, 2011
                                                                      Date Signed
                     Case 1:09-cr-02964-JB                   Document 147   Filed 12/19/11      Page 2 of 6
AO 245B (Rev. 12/10) Sheet 1 - Judgment in a Criminal Case                                                    Judgment - Page 2 of 6


Defendant: June L Ortiz
Case Number: 1:09CR02964-002JB


                                             ADDITIONAL COUNTS OF CONVICTION

Title and Section Nature of Offense                                                Offense Ended       Count
                                                                                                       Number(s)
15 U.S.C. Sec.      Reports to State Tobacco Tax Administrator                     07/03/2008          S56
376

15 U.S.C. Sec.      Reports to State Tobacco Tax Administrator                     07/17/2008          S57
376

15 U.S.C. Sec.      Reports to State Tobacco Tax Administrator                     08/14/2008          S58
376
                      Case 1:09-cr-02964-JB                  Document 147                Filed 12/19/11            Page 3 of 6
AO 245B (Rev. 12/10) - Sheet 4 - Probation                                                                                            Judgment - Page 3 of 6


Defendant: June L Ortiz
Case Number: 1:09CR02964-002JB


                                                                   PROBATION

The defendant is hereby sentenced to probation for a term of :3 years.

A term of 3 years is imposed as to each of Counts S54 through S58; said terms shall run concurrently for a total term of 3 years.

The Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines with other sentencing
goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable category of offense
committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is appropriate for this
sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court has considered the
kind of sentence and range established by the Guidelines. The Court believes that a sentence of 3 years probation reflects the
seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence, protects the
public and effectively provides the Defendant with needed education or vocational training and medical care, and otherwise fully
reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court
believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing Reform
Act.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by
the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Criminal Monetary Penalties
sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                  STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
                    Case 1:09-cr-02964-JB                   Document 147               Filed 12/19/11             Page 4 of 6
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characterisics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
      with such notification requirement;
                     Case 1:09-cr-02964-JB   Document 147     Filed 12/19/11     Page 5 of 6
AO 245B (Rev. 12/10) Sheet 3                                                                   Judgment - Page 5 of 6


Defendant: June L Ortiz
Case Number: 1:09CR02964-002JB


                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant will be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without prior approval of the probation officer.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

Standard condition No. 5 shall be revised as follows: The Defendant shall obtain and maintain full time,
legitimate employment, or attend a vocational or academic training program, as approved by the probation
officer, throughout the term of supervised release.

The Defendant shall be restricted from engaging in employment, consulting, or any association with any
financial institution.
                     Case 1:09-cr-02964-JB                     Document 147      Filed 12/19/11          Page 6 of 6
AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 6 of 6


Defendant: June L Ortiz
Case Number: 1:09CR02964-002JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                               $50.00                           $0.00                         $10,000.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

The Defendant has agreed to pay the New Mexico Taxation and Revenue Department $10,000.00 in restitution. Restitution shall
be mailed to: New Mexico Attorney General, ATTN: Tobacco Project, P.O. Drawer 1508, Santa Fe, New Mexico 87504-1508.
The Defendant shall make monthly payments of $277.00.

Consistent with a Stipulation in the Plea Agreement, the Defendant forfeits her rights, title, and interest to the items listed in
paragraph 16 of the plea agreement.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
